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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
                                                   § CASE NUMBER 4:21-CR-00093
 v.                                                §
                                                   §
                                                   §
 DAVID ARROYO-CASTRO                               §


                ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS
               OF FACT AND RECOMMMENDATION ON GUILTY PLEA


       The Court referred this matter to the Honorable Christine A. Nowak, United States

Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal Procedure 11.

The Magistrate Judge conducted a hearing in the form and manner prescribed by Rule 11 and

issued Findings of Fact and Recommendation on Guilty Plea. The Magistrate Judge recommended

that the Court accept Defendant’s guilty plea and adjudge Defendant guilty on Count One of the

Indictment

       The parties have not objected to the Magistrate Judge’s findings.

       Having reviewed the Magistrate Judge’s findings and recommendation, the Court hereby

ADOPTS the Findings of Fact and Recommendation on Guilty Plea of the United States

Magistrate Judge.

       In accordance with Defendant’s guilty plea, the Court finds Defendant DAVID

ARROYO-CASTRO GUILTY of Count One of the Indictment, charging a violation of
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Title 21 U.S.C. § 846 - Conspiracy to Possess with the Intent to Manufacture and

Distribute Methamphetamine.

          So ORDERED and SIGNED this 18th day of October, 2021.



                                            ___________________________________
                                            JEREMY D. KERNODLE
                                            UNITED STATES DISTRICT JUDGE
